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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR16-287-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   IVAN BETANZOS TORRES,                )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances

15 Date of Detention Hearing:     November 4, 2016.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is reportedly a citizen of Mexico.



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01         2.      The United States alleges that his presence in this country is illegal. There is an

02 immigration detainer pending against him.

03         3.      Defendant and his counsel offer no opposition to entry of an order of detention.

04         4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

05 Services. Therefore, there is limited information available about him.

06         5.      Defendant poses a risk of nonappearance due to lack of legal immigration status,

07 lack of verified background information, a history of nonappearance and failure to appear, an

08 active warrant, and a history of poor performance while on supervision. Defendant poses a

09 risk of danger due to criminal history.       There does not appear to be any condition or

10 combination of conditions that will reasonably assure the defendant’s appearance at future

11 Court hearings while addressing the danger to other persons or the community.

12         It is therefore ORDERED:

13      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14         General for confinement in a correction facility separate, to the extent practicable, from

15         persons awaiting or serving sentences or being held in custody pending appeal;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17         counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19         person in charge of the corrections facility in which defendant is confined shall deliver

20         the defendant to a United States Marshal for the purpose of an appearance in connection

21         with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel



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01       for the defendant, to the United States Marshal, and to the United State Pretrial Services

02       Officer.

03       DATED this 4th day of November, 2016.

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05                                                     A
                                                       Mary Alice Theiler
06                                                     United States Magistrate Judge

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